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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                               )
             In re:                                                            ) Chapter 11
                                                                               )
             PROTERRA INC, et al., 1                                           ) Case No. 23-11120 (BLS)
                                                                               )
                                       Debtors.                                ) (Joint Administration Requested)
                                                                               )

                   NOTICE OF (I) FILING OF BANKRUPTCY PETITIONS AND RELATED
                  DOCUMENTS AND (II) AGENDA FOR HYBRID HEARING ON FIRST DAY
                      MOTIONS SCHEDULED FOR AUGUST 10, 2023 AT 9:30 A.M. (ET)
              BEFORE THE HONORABLE BRENDAN LINEHAN SHANNON OF THE UNITED
                 STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE 2

                                                    HEARING INSTRUCTIONS:

              THE HEARING WILL CONDUCTED IN-PERSON AND BY ZOOM. PARTICIPANTS
               APPEARING BY ZOOM ARE REQUIRED TO REGISTER IN ADVANCE OF THE
                                                      HEARING.
               All individuals participating by video must register at least 2 hours prior to the hearing.

                               COURTCALL WILL NOT BE USED FOR THIS HEARING.

                                    Please use the following link to register for this hearing:

                https://protect-us.mimecast.com/s/3SJACzpnDPIwvK9Ef48m-p?domain=debuscourts.zoomgov.com

                  After registering your appearance by Zoom, you will receive a confirmation email
                 containing information about joining the hearing. You must use your full name when
                             logging into Zoom or you will not be allowed into the meeting.


                         PLEASE TAKE NOTICE that, on August 7, 2023, the debtors and debtors in
         possession in the above-captioned cases (together, the “Debtors”) filed the following voluntary
         petitions (collectively, the “Petitions”) for relief under chapter 11 of title 11 of the United States
         Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), and related pleadings with the Clerk of
         the United States Bankruptcy Court for the District of Delaware. The Debtors continue to operate
         their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
         Code.

         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number, are as follows: Proterra Inc (1379); and Proterra Operating Company, Inc. (8459). The location of the
               Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
         2
               All motions and other pleadings referenced herein are available online at www.kccllc.net/proterra or by request
               to the Debtors’ proposed counsel, Young Conaway Stargatt & Taylor, LLP, Attn: Debbie Laskin, paralegal,
               302- 571-6710, or dlaskin@ycst.com.
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         PETITIONS AND RELATED PLEADINGS

         1.       Voluntary Petitions

                  A.        Proterra Inc, Case No. 23- 11120
                  B.        Proterra Operating Company, Inc., Case No. 23-11121

         2.       Declaration of Gareth T. Joyce in Support of Chapter 11 Petitions and First Day Pleadings
                  [D.I. 16, 8/8/23] 3

                         PLEASE TAKE FURTHER NOTICE that a hybrid hearing with respect to the
         following first day motions (collectively, the “First Day Motions”) is scheduled for August 10,
         2023 at 9:30 a.m. (ET) (the “First Day Hearing”) before The Honorable Brendan Linehan
         Shannon, United States Bankruptcy Judge for the District of Delaware.

         FIRST DAY MOTIONS GOING FORWARD

         3.       Debtors’ Motion for Entry of an Order, Pursuant to Bankruptcy Rule 1015(b) and Local
                  Rule 1015-1, Authorizing the Joint Administration of the Debtors’ Chapter 11 Cases [D.I.
                  2, 8/7/23]

                  Status:           This matter will be going forward.

         4.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Maintenance,
                  Administration, and Continuation of Debtors’ Customer Programs and (II) Granting
                  Related Relief [D.I. 3, 8/7/23]

                  Status:           This matter will be going forward on an interim basis.

         5.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
                  Prepetition Claims of (A) Lien Claimants, (B) 503(b)(9) Claimants, and (C) Critical
                  Vendors, (II) Authorizing the Debtors to Pay Claims of Outstanding Orders, and
                  (III) Granting Related Relief [D.I. 4, 8/7/23]

                  Related Documents:

                            a.      Declaration of Justin D. Pugh in Support of Debtors’ (I) Cash Collateral
                                    Motion and (II) Vendor Claimants Motion [D.I. 45, 8/9/23]

                  Status:           This matter will be going forward on an interim basis.

         6.       Debtors’ Motion for Entry of Interim and Final Orders (I) Establishing Notification and
                  Hearing Procedures for Certain Transfers of and Declarations of Worthlessness With
                  Respect to Common Stock of Proterra Inc and Claims Against Debtors and (II) Granting
                  Related Relief [D.I. 5, 8/7/23]

                  Status:           This matter will be going forward on an interim basis.


         3
              The physical location of the declarant is Norwalk, Connecticut.

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         7.    Debtors’ Motion for Entry of Interim and Final Orders (I) Prohibiting Utility Companies
               From Discontinuing, Altering, or Refusing Service, (II) Deeming Utility Companies to
               Have Adequate Assurance of Future Payment, (III) Establishing Procedures for Resolving
               Requests for Additional Assurance, and (IV) Granting Related Relief [D.I. 6, 8/7/23]

               Status:        This matter will be going forward on an interim basis.

         8.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Payment of Certain
               Prepetition Employee Wages and Benefits, and (II) Granting Related Relief [D.I. 7, 8/7/23]

               Status:        This matter will be going forward on an interim basis.

         9.    Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to File a Consolidated
               (A) Creditor Matrix and (B) List of the 30 Largest Unsecured Creditors; (II) Authorizing
               Redaction of Certain Personal Identification Information; and (III) Granting Related Relief
               [D.I. 10, 8/7/23]

               Status:        This matter will be going forward.

         10.   Debtors’ Application for Entry of an Order Authorizing the Debtors to Employ and Retain
               Kurtzman Carson Consultants LLC as Claims and Noticing Agent Effective as of the
               Petition Date [D.I. 11, 8/7/23]

               Status:        This matter will be going forward.

         11.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
               Continue and Pay All Prepetition Obligations Relating to Their (A) Prepetition Insurance
               Policies and Insurance Premium Finance Agreement and (B) Surety Bond Program; and
               (II) Granting Related Relief [D.I. 12, 8/7/23]

               Status:        This matter will be going forward on an interim basis.

         12.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment of
               Certain Taxes and Fees and (II) Granting Related Relief [D.I. 13, 8/7/23]

               Status:        This matter will be going forward on an interim basis.

         13.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing (A) Continued Use
               of Cash Management System, (B) Maintenance of Bank Accounts and Business Forms,
               (C) Continuance of Corporate Credit Card Programs, and (D) Honoring Certain Prepetition
               Obligations; (II) Waiving Strict Compliance with 11 U.S.C. § 345(b) and Certain Operating
               Guidelines, as Applicable, and (III) Granting Related Relief [D.I. 14, 8/7/23]

               Status:        This matter will be going forward on an interim basis.




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         14.   Debtors; Motion for Entry of Interim Order (I) Authorizing the Debtors to Use Cash
               Collateral, (II) Granting Adequate Protection, and (III) Granting Related Relief [D.I. 44,
               8/9/23]

               Related Documents:

                         a.   Declaration of Justin D. Pugh in Support of Debtors’ (I) Cash Collateral
                              Motion and (II) Vendor Claimants Motion [D.I. 45, 8/9/23]

               Status:        This matter will be going forward on an interim basis.




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                      PLEASE TAKE FURTHER NOTICE that objections, if any, to the First Day
         Motions may be made at the First Day Hearing.


             Dated: August 9, 2023            Respectfully submitted,
                    Wilmington, Delaware
                                              YOUNG CONAWAY STARGATT &
                                              TAYLOR, LLP

                                              /s/ Shella Borovinskaya
                                              Pauline K. Morgan (No. 3650)
                                              Andrew L. Magaziner (No. 5426)
                                              Shella Borovinskaya (No. 6758)
                                              Rodney Square
                                              1000 North King Street
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 571-6600
                                              Facsimile: (302) 571-1253
                                              Email: pmorgan@ycst.com
                                                       amagaziner@ycst.com
                                                       sborovinskaya@ycst.com

                                                      - and -

                                              PAUL, WEISS, RIFKIND,
                                              WHARTON & GARRISON LLP
                                              Paul M. Basta (admitted pro hac vice)
                                              Robert A. Britton (admitted pro hac vice)
                                              Michael J. Colarossi (admitted pro hac vice)
                                              1285 Avenue of the Americas
                                              New York, New York 10019
                                              Tel: (212) 373-3000
                                              Fax: (212) 757-3990
                                              Email: pbasta@paulweiss.com
                                                     rbritton@paulweiss.com
                                                     mcolarossi@paulweiss.com

                                              Proposed Counsel to the Debtors and
                                              Debtors in Possession




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